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     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     HUANCHANG MA
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      )       No. CR-S-11-166 MCE
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND
11
                                                    )       ORDER CONTINUING JUDGMENT
     v.                                             )       AND SENTENCING
                                                    )
12
     HUANCHANG MA,                                  )       Date: May 7, 2015
                                                    )       Time: 9:00 a.m.
13
                                                    )       Judge: Honorable Morrison C. England, Jr.
            Defendant.                              )
14
                                                    )
                                                    )
15
                                                    )
16

17          The parties hereby stipulate the following:

18              Judgment and sentencing in this matter is presently set for April 23, 2015. Counsel

19              for the parties request the date for judgment and sentencing be continued to

20              May 7, 2015 at 9:00 a.m. Counsel for the defendant needs additional time to meet

21              with the client, who speaks only Cantonese, review the PSR; discuss the findings and

22              recommendations therein; and, research and draft the sentencing memorandum.

23              Assistant U.S. Attorney Christiaan Highsmith and USPO Lynda Moore have been

24              advised of this request and have no objection. The parties request the Court adopt the

25              following schedule pertaining to the presentence report:

26              Judgment and Sentencing date:                                      5/7/15
27
                Reply, or Statement of Non-Opposition:                             4/30/15
28
                Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the
                                                        1
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               Probation Officer and opposing counsel no later than:         n/a
 1

 2             The Presentence Report shall be filed with the Court
               And disclosed to counsel no later than:                       n/a
 3
               Counsel’s written objections to the Presentence Report
 4
               Shall be delivered to the probation officer and opposing
 5             Counsel no later than:                                        n/a

 6             The Presentence Report shall be filed
 7
               And disclosed to counsel no later than:                       n/a

 8
     IT IS SO STIPULATED.
 9

10
     Dated: April 16, 2015                                      /s/ John R. Manning
                                                               JOHN R. MANNING
11                                                             Attorney for Defendant
                                                               Huanchang Ma
12

13   Dated: April 16, 2015                                     Benjamin B. Wagner
                                                               United States Attorney
14
                                                               by: /s/ Christiaan Highsmith
15
                                                               CHRISTIAAN HIGHSMITH
16                                                             Assistant U.S. Attorney

17

18
                                                ORDER

19          IT IS SO ORDERED.
20   Dated: April 24, 2015
21

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23

24

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